                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

EARL PETERS, IDDO BLACKWELL,        *     CIVIL ACTION
KEVIN MATHIEU, LAVELLE              *
MEYERS, DAN RILEY, RUSSELL          *
WARE                                *     NUMBER: 3:16-cv-00842-SDD-RLB
                                    *
VERSUS                              *
                                    *     JUDGE SHELLY D. DICK
RAMAN SINGH, JOHN BEL               *
EDWARDS, JAMES M. LEBLANC,          *
STEPHANIE LAMARTINIERE,             *     MAGISTRATE
DARRYL VANNOY, STATE OF             *     RICHARD L. BOURGEOIS
LOUISIANA, LOUISIANA                *
DEPARTMENT OF PUBLIC SAFETY *
AND CORRECTIONS                     *
******************************************************************************
               MOTION FOR SUMMARY JUDGMENT TO DISMISS
           ALL CLAIMS ON BEHALF OF PLAINTIFF HERMAN BELLA

       NOW INTO COURT, through undersigned counsel, come Defendants, State of Louisiana,

Louisiana Department of Public Safety and Corrections, John Bel Edwards, in his capacity as

Governor of Louisiana, James LeBlanc, Secretary of the Louisiana Department of Public Safety and

Corrections, Darryl Vannoy, Warden at Angola, Raman Singh, and Stephanie Lamartinere, Assistant

Warden at Angola, who, pursuant to Federal Rule of Civil Procedure 56, move to dismiss the claims

of plaintiff Herman Bella. Plaintiff’s deliberate indifference and ADA claims must be dismissed.

First, plaintiff’s claims are prescribed, as the alleged violations occurred in 2013, more than one year

before suit was filed; under established case law, plaintiff cannot claim prescription was tolled where

he consistently received medical treatment.

       Further, the deliberate indifference claims are without merit. Contrary to plaintiff’s

allegations, defendants did not “deny” plaintiff’s hernia surgery. Plaintiff was not recommended for



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surgery by a surgeon until 2016, and surgery was provided thereafter. Numerous federal district and

appellate courts throughout the United States have found that institutional policies dictating that

reducible hernias should be treated non-operatively were medically and constitutionally appropriate.

The fact that plaintiff did not receive surgery when he thought it appropriate does not support a claim

for deliberate indifference. In addition, plaintiff cannot show that his job assignment as a janitor

required him to perform physical labor that constituted a danger to his life and health, and thus the

deliberate indifference work assignment claim is without merit. In the alternative, defendants are

entitled to qualified immunity, as plaintiff cannot show a violation of a clearly established right

where numerous federal courts have held non-surgical treatment of reducible hernias do not violate

the constitution.

       Lastly, plaintiff’s ADA claims should be dismissed. Plaintiff’s reducible hernia does not

qualify as a disability under the ADA, and further, plaintiff’s allegation that defendants treated

inmates with reducible hernias differently by not providing surgery does not constitute discrimination

under the ADA.

       WHEREFORE, defendants pray that this summary judgment be granted, dismissing all

claims of Herman Bella, with prejudice, at plaintiff’s costs.




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                                                Respectfully submitted,

                                                JEFF LANDRY
                                                Attorney General

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                                   CERTIFICATE OF SERVICE
        I hereby certify that I have this date electronically filed the foregoing with the Clerk of Court
by utilizing the CM/ECF system, and a copy of the above and foregoing was this day forwarded by
the Court’s ECF Delivery System to all counsel of record.

        Baton Rouge, Louisiana, this 10th day of April, 2019.


                                         s/Andrew Blanchfield
                                         Andrew Blanchfield




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